             UNITED STATES DISTRICT COURT
          FOR THE SOUTHERN DISTRICT OF TEXAS
                   HOUSTON DIVISION


 Richard Lowery, on behalf of himself
 and others similarly situated,

                        Plaintiff,

 v.

 Texas A&M University; M. Katherine
 Banks, in her official capacity as
 president of Texas A&M University;
                                                  Case No. 4:22-cv-3091
 Alan Sams, in his official capacity as
 interim provost and vice president for
 academic affairs for Texas A&M
 University; Annie S. McGowan, in her
 official capacity as Vice President and
 Associate Provost for Diversity at Texas
 A&M University; N.K. Anand, in his
 official capacity as Vice President for
 Faculty Affairs at Texas A&M University,

                        Defendants.


            FIRST AMENDED CLASS-ACTION COMPLAINT
      Federal law prohibits universities that accept federal funds from discriminating on
account of race or sex. See 42 U.S.C. § 2000d (Title VI); 20 U.S.C. § 1681 (Title IX).
Texas A&M University is flouting these requirements by using race and sex prefer-
ences in faculty hiring and compensation — a practice that violates the clear and une-
quivocal text of Title VI and Title IX, as well as the Equal Protection Clause of the
Fourteenth Amendment. The plaintiff brings suit to enjoin these discriminatory prac-
tices, and to ensure that all components of Texas A&M University comply with their
obligations under federal anti-discrimination law.




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                         JURISDICTION AND VENUE
    1.    The Court has subject-matter jurisdiction under 28 U.S.C. § 1331 and 28
U.S.C. § 1343.

    2.    Venue is proper because a substantial part of the events giving rise to the
claims occurred in this judicial district. See 28 U.S.C. § 1391(b)(2).

                                       PARTIES
    3.    Plaintiff Richard Lowery is a resident of Texas and an associate professor of
finance at the University of Texas at Austin.
    4.    Defendant Texas A&M University is located in College Station, Texas. It
can be served at its Office of the General Counsel, located at 301 Tarrow Street,
College Station, Texas 77840-7896.
    5.    Defendant M. Katherine Banks is president of Texas A&M University. She
is sued in her official capacity.
    6.    Defendant Alan Sams is interim provost and vice president for academic af-
fairs at Texas A&M University. He is sued in his official capacity.
    7.    Defendant Annie S. McGowan is Vice President and Associate Provost for
Diversity at Texas A&M University. She is sued in her official capacity.
    8.    Defendant N.K. Anand is Vice President for Faculty Affairs at Texas A&M
University. He is sued in his official capacity.

                             STATEMENT OF FACTS
    9.    Texas A&M University, along with nearly every university in the United
States, discriminates on account of race and sex when hiring its faculty, by giving dis-
criminatory preferences to females and non-Asian racial minorities at the expense of
white and Asian men. This practice, popularly known as “affirmative action,” has led
universities to hire and promote inferior faculty candidates over individuals with better
scholarship, better credentials, and better teaching ability.




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    10. These race and sex preferences are patently illegal under Title VI and Title
IX, which prohibit all forms of race and sex discrimination at universities that receive

federal funds. But university faculty and administrators think they can flout these fed-
eral statutes with impunity because no one ever sues them over their discriminatory
hiring practices and the Department of Education looks the other way.
    11. These discriminatory, illegal, and anti-meritocratic practices have been
egged on by woke ideologues who populate the so-called diversity, equity, and inclu-
sion offices at public and private universities throughout the United States. The exist-
ence of these offices is subverting meritocracy and encouraging wholesale violations
of civil-rights laws throughout our nation’s university system.
    12. M. Katherine Banks, the current president of Texas A&M University, is a
particularly aggressive and enthusiastic proponent of illegal race and sex preferences
in faculty hiring. Banks is using her powers at the university to ensure that women
and non-Asian racial minorities receive hiring preferences at the expense of white and
Asian men, while demanding that her subordinates comply with her discriminatory
and unlawful hiring edicts.
    13. Before Banks became president of Texas A&M University on June 1, 2021,
she served as dean of Texas A&M’s college of engineering. During the spring of 2021,
while serving as dean, Banks told faculty senators from the engineering caucus that,
until further notice, all new tenure-track hires in the college must be “underrepre-
sented minorities.” In addition, Banks would regularly give departments new faculty

openings that could be filled by only “underrepresented minorities” or women.
    14. Banks is continuing to promote and impose these discriminatory practices
as university president, and she is overseeing and actively supporting explicit and com-
pulsory hiring preferences for women and non-Asian racial minorities.
    15. On July 8, 2022, a memo was sent from the Texas A&M “office for diver-
sity,” to all deans at the university. The memo was signed by Annie McGowan, the


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vice president and associate provost for diversity, and N.K. Anand, the vice president
for faculty affairs. The memo says:

       Effective July 1, 2021, Texas A&M was officially recognized as a His-
       panic Serving Institution (HSI) by the United States Department of
       Education. As an HSI, Texas A&M is charged with expanding the ca-
       pacity of low-income, first-generation Hispanic students, and other un-
       derserved students and their communities. Increasing opportunities for
       underserved students to interact and engage with faculty that share
       their ethnic, life, and cultural experiences are essential to achieving this
       goal. The presence of faculty of color is also integral to the University’s
       mission to provide the highest quality of undergraduate and graduate
       education and develop new understandings through research and crea-
       tivity.

       ACES Plus was created to ensure promising faculty to come to Texas
       A&M. For the FY 23 and FY 24, the VP for Faculty Affairs will allocate
       a sum of $2 million for the ACES Plus Program. The funds will be used
       to provide 50% matching base salary and benefits, up to a maximum
       contribution of $100,000 (salary and fringe) for new mid-career and
       senior tenure-track hires from underrepresented minority groups,
       that contribute to moving the structural composition of our fac-
       ulty towards parity with that of the State of Texas. Consistent with
       our land-grant mission, and as defined NIH policy, Texas A&M defines
       URMs as African Americans, Hispanic/Latino Americans, Native
       Americans, Alaskan Natives, and Native Hawaiians.
See Exhibit 1 (emphasis added).
    16. N.K. Anand discussed these racial set-asides in the ACES Plus program with
President Banks, who is cc’d on the memo of July 8, 2022. President Banks was aware
of and approved the ACES Plus program and its racially discriminatory set-asides.
    17. Timothy Scott, the then-interim provost of Texas A&M University, is also
cc’d on the memo of July 8, 2022.
    18. Texas A&M’s decision to set aside funds to supplement the salaries of faculty
members from “underrepresented minority groups” is a flagrant violation of Title VI.
    19. Texas A&M’s proclaimed goal of establishing a faculty whose racial compo-
sition attains “parity with that of the state of Texas” seeks to achieve racial balancing,



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which is flatly illegal under Title VI and the binding precedent of the Supreme Court.
See Grutter v. Bollinger, 539 U.S. 306, 330 (2003) (“[O]utright racial balancing . . .

is patently unconstitutional.”).
    20. Texas A&M University is also establishing faculty-hiring lines that are re-
served exclusively for members of “underrepresented” (read: non-Asian) racial minor-
ities. On August 26, 2022, a faculty member at Texas A&M’s business school e-mailed
Shane A. Johnson, the head of the recruiting committee for the department of finance
for 2022–23 academic year, after hearing that one of the faculty-hiring lines in the
department of finance was being set aside for an “underrepresented” racial minority.
See Exhibit 2 (“I heard from someone that one of our lines is reserved for an ‘un-
derrepresented minority.’ Is that correct?”).
    21. Later that day, Professor Johnson e-mailed back confirming that this was
indeed the case:

        The underrepresented line would potentially be a third position, so yes
       reserved, but not one of our “regular” positions.
Exhibit 2.
    22. The memo of July 8, 2022, from the office for diversity, and the Johnson e-
mail of August 26, 2022, are merely two of the most recent examples of the pervasive
race and sex preferences that infect every aspect of faculty hiring at Texas A&M Uni-
versity. The university has been systematically discriminating and continues to system-
atically discriminate in favor of women and non-Asian racial minorities, and against
white and Asian men, when recruiting and hiring faculty, in an effort to bend the
demographic makeup of its faculty to more closely resemble “parity” with “the state
of Texas,” and the university will continue doing so unless and until this Court puts a
stop to it.
    23. The use of discriminatory race and sex preferences in faculty hiring has been
enthusiastically embraced by the Texas A&M faculty senate. On October 17, 2022,



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the Texas A&M faculty senate overwhelmingly adopted a resolution announcing that,
among other things, that “the university still has significant work ahead to help other

underrepresented groups make progress to more adequately reflect Texas of the 21st
century.” See https://youtu.be/NJ2UdG2C2_g?t=6175. The resolution stated:

           Be it resolved: The faculty senate of Texas A&M university reconfirms
           its commitment to diversity, equity, and inclusion efforts and, be it fur-
           ther resolved, that the faculty senate supports the goals of programs,
           such as ACES and ACES Plus, that aim to diversify the ranks of faculty
           to better represent our state and our student body.
Id.
      24. During the faculty senate meeting, Professor Adam Kolasinski spoke against
the resolution. See https://youtu.be/NJ2UdG2C2_g?t=6465 (last visited on
December 23, 2022). He cautioned that voting on the resolution was “extremely
unwise because one of the programs it endorses is subject to litigation.” See id.; see
also id. (“Weighing in on a program that is subject to litigation whose outcome is
highly uncertain is an extremely bad idea as we are not a court and we are not law-
yers.”).
      25. Professor Kolasinski also criticized the stated goal in the ACES Plus program
to “move the structural composition of our faculty toward parity with that of the state
of Texas.” See https://youtu.be/NJ2UdG2C2_g?t=6687. He pointed out that Asians
currently constitute 20% of the Texas A&M faculty but only 5% of the Texas popula-
tion. See https://youtu.be/NJ2UdG2C2_g?t=6732. So the implication of the stated

goal in the ACES Plus program would be to require “the replacement of 2/3 to 3/4
of our Asian faculty solely because of their race.” Id. He then said:

           If you are serious this resolution, I ask you, which 3/4 of your Asian
           colleagues do you want to get rid of? Or do you instead support making
           most new faculty positions one to which Asians need not apply, for the
           next decade? By the way, that’s what the ACES Plus program does. It
           creates new faculty positions for which no Asians need apply.




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See https://youtu.be/NJ2UdG2C2_g?t=6787.
    26. After Professor Kolasinski finished his remarks, Professor Angie Hill Price

said: “I am almost speechless. I think that was extraordinarily offensive.” See
https://youtu.be/NJ2UdG2C2_g?t=6933. She also said: “I hope that we can help
support our DEI initiatives and intent from our university and support the coordinat-
ing board initiatives to be able to better represent the people of the state of Texas who
are paying for our services and paying taxes to support us.” Id.
    27. No other faculty senator commented on Professor Kolasinski’s remarks. The
faculty senate then voted 54-12 to endorse the resolution despite Professor Kolasin-
ski’s objections. See https://youtu.be/NJ2UdG2C2_g?t=7140.
    28. The lopsided vote in the Texas A&M faculty senate in favor of the discrim-
inatory ACES Plus program demonstrates the overwhelming support for race and sex
preferences among the faculty who vote on hiring and tenure decisions, as well as the
faculty’s determination and zeal to continue discriminating in favor of female and non-
Asian minorities candidates when making faculty appointments. Dissenting perspec-
tives such as Professor Kolasinksi’s are dismissed as “offensive” and overwhelmingly
voted down.
    29. Professor Hill Price’s remarks indicate that there are other “DEI initiatives”
and other “coordinating board initiatives,” in addition to the ACES Plus program,
that are designed to make the demographic makeup of Texas A&M less white and less
Asian — or (in the euphemistic words of Professor Hill Price) “to better represent the

people of the state of Texas who are paying for our services and paying taxes to sup-
port us.” And it is evident that the 54 faculty members who voted to endorse the
resolution intend to pursue these goals regardless of whether they are dictated or
decreed from on high.
    30.   Finally, Texas A&M University deploys race and sex preferences in its fac-
ulty hiring even when it does not put its discriminatory intentions in writing. Under


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the original ACES program, which did not contain the explicit discriminatory lan-
guage that appears in the ACES Plus memo of July 8, 2022, the university would

nonetheless reserve hiring spots for underrepresented-minority candidates. The use
of race and sex preferences — as well as outright set-asides — is pervasive throughout
the university’s faculty hiring, and the problem extends far beyond the ACES Plus
program and the other discrete episodes mentioned in this complaint.
    31. Defendants Banks, Sams, McGowan, and Anand all have some connection
to the enforcement of Texas A&M University’s discriminatory faculty-hiring practices,
and are therefore proper defendants under Ex parte Young, 209 U.S. 123, 157 (1908).
President Banks has aggressively pushed for Texas A&M University to discriminate in
favor of women and non-Asian faculty candidates, and against white and Asian men,
both in her role as dean of the college of engineering and as president of the university,
where she approved the discriminatory set-asides in the ACES Plus program. The
president and provost of Texas A&M University must approve faculty appointments
that give tenure on arrival, so President Banks and interim provost Sams have addi-
tional connections to the discriminatory faculty-hiring practices that pervade Texas
A&M University. And defendants McGowan and Anand authored and circulated the
memo establishing the racial set-asides in the ACES Plus program. Each of the de-
fendants therefore has some connection to these pervasive and ongoing violations of
federal law.
    32. Defendant McGowan also oversees Texas A&M University’s Office for Di-

versity, which is charged with implementing Texas A&M University’s “diversity plan.”
See https://diversity.tamu.edu/About-the-Office (“The mission of the Office for Di-
versity is to implement and coordinate Texas A&M University’s Diversity Plan”). One
of the stated goals is this “diversity plan” is to “[a]chieve and evidence progress in the
ranks of our faculty, students, staff, and administrators to demonstrate that we are a
national leader in diversity.” See https://bit.ly/3PUdaNM (page 2). Defendant


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McGowan therefore has some connection to the pervasive and ongoing discrimina-
tory preferences given to female and non-Asian faculty candidates at Texas A&M Uni-

versity.

                     FACTS RELATED TO STANDING
    33. Professor Richard Lowery is an associate professor of finance at the Univer-
sity of Texas at Austin.
    34. Professor Lowery stands “able and ready” to apply for a faculty appointment

at Texas A&M University. See Carney v. Adams, 141 S. Ct. 493, 499–500 (2020);
Gratz v. Bollinger, 539 U.S. 244, 261 (2003); Northeast Florida Chapter of Associated
General Contractors of America v. City of Jacksonville, 508 U.S. 656, 666 (1993).
    35. Professor Lowery is actively looking for employment opportunities outside
the University of Texas at Austin because he is unhappy with the current administra-
tion and has been treated poorly by his colleagues and superiors at the university,
despite his status as a tenured professor. He has faced retaliation at the university for
his criticism of the administration, especially over its resistance to the proposed Lib-
erty Institute at UT-Austin. He sharply criticized the university president in a recent
podcast,1 which triggered an investigation from the university’s legal department.
    36. Professor Lowery has also been banned from participating in recruiting for
the finance department at UT-Austin because he refuses to attend the “diversity train-
ing sessions” that the provost’s office requires for university faculty. One of his col-
leagues has gone so far as to insist that those who, like Professor Lowery, refuse to
attend the required diversity training should not be allowed to express any opinion
on any faculty candidate.



1. For example, he made the statement that “the sole qualification for being presi-
   dent of a university in a red state is being good at lying to Republicans.” See
   https://podcasts.apple.com/us/podcast/lessons-from-the-frontlines-of-the-
   university/id?i=


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    37. Professor Lowery is also disillusioned with his current job because of the
rising crime rates in Austin caused by the city’s failure to address the homelessness

situation, and would like to find an appointment in a location that does not put his
family’s safety at risk. Encounters with hostile homeless individuals now occur both
around the University of Texas campus and in Professor Lowery’s own neighborhood,
and Professor Lowery has experienced a burglary of his garage while home with his
family, with significant loss of goods.
    38. Professor Lowery has already applied for a faculty appointment at the Uni-
versity of Florida, where he has been intrigued by the recently approved Hamilton
Center for Classical and Civic Education, which is similar to the Liberty Institute that
was proposed by ultimately nixed at UT-Austin, and where the university system ap-
pears more serious about improving leadership, as demonstrated by the recent hiring
of Senator Ben Sasse as President.
    39. Professor Lowery is especially interested in applying for a faculty appoint-
ment at Texas A&M, because he prefers to remain in Texas due to the favorable in-
come-tax environment but would like to move away from major metropolitan areas.
He also has good relationships with a number of faculty in the finance department at
the Mays School of Business and believes that he could integrate quickly into that
department. Texas A&M is also one of the few universities in the United States where
some departments might consider hiring an outspoken conservative at Professor Low-
ery’s career stage, and as such is one of his best options for alternative employment.

    40. Professor Lowery prefers to seek employment at universities in Texas and
Florida because he sees some hope that these states may have the political will to
restore unfettered academic inquiry as the goal of the university, reversing the move-
ment toward “social justice” activism.
    41. Professor Lowery, though he stands “able and ready” to apply for a faculty
appointment at Texas A&M University, will not do so until he can compete on an


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even playing field with female faculty candidates and faculty candidates of other races.
Professor Lowery would have already applied for a faculty position at Texas A&M

University were the university not using these discriminatory hiring practices.
    42. Indeed, Professor Lowery is actively assisting efforts at Texas A&M Univer-
sity to establish something akin to the Liberty Institute that failed to win approval at
UT-Austin. So he has a keen interest in the mission of Texas A&M University and
would be honored to apply for a faculty position once they scrap their illegal and
discriminatory hiring preferences.
    43. In April of this year, Professor Lowery gave an informal lunch talk to the
finance department at Texas A&M University’s Mays Business School in the hopes of
generating interest from the department in a possible future appointment.
    44. Professor Lowery would be an exceptionally strong candidate for a faculty
appointment at Texas A&M University given his status as an already-tenured professor
UT-Austin, and given the demonstrated interest that the finance department at Texas
A&M has shown in his research by inviting him to present the brown-bag lunch talk
in April of this year.
    45. The pervasive and ongoing use of race and sex preferences and set-asides at
Texas A&M University prevents Professor Lowery from competing with other appli-
cants for these faculty positions on an equal basis. This inflicts injury in fact. See Gratz,
539 U.S. at 261; Jacksonville, 508 U.S. at 666.
    46. This injury is caused by Texas A&M University’s pervasive and ongoing use

of race and sex preferences and set-asides in faculty hiring, and it will be redressed by
a declaratory judgment and injunction that bars the university from considering race
or sex when appointing or compensating its faculty.
    47. Professor Lowery sues on behalf of a class of all white and Asian men who
stand “able and ready” to apply for faculty appointments at Texas A&M.




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       COUNT 1— VIOLATIONS OF TITLE VI AND TITLE IX
    48. Texas A&M University and its officers are violating Title VI and Title IX by
discriminating in favor of female and “underrepresented” minority faculty candidates

and against white and Asian men.
    49. Texas A&M University is a “program or activity” that “receives Federal fi-
nancial assistance” within the meaning of Title VI and Title IX.
    50. Professor Lowery therefore seeks declaratory and injunctive relief that pro-
hibits Texas A&M University and its officers from discriminating on account of race
and sex in the appointment, promotion, and compensation of their faculty, and that
compels the university and its officers to appoint, promote, and compensate their fac-
ulty in a color-blind and sex-neutral manner.
    51. Professor Lowery seeks this relief under Title VI, Title IX, 42 U.S.C.
§ 1983, and any other law that might supply a cause of action for the requested relief.
    52. Professor Lowery seeks this relief against each of the named defendants,
including Texas A&M University.

            COUNT 2 — V I O L A T I O N S O F 42 U.S.C. § 1981
    53. 42 U.S.C. § 1981(a) guarantees individuals the same right to make and en-
force contracts without regard to race. See 42 U.S.C. § 1981(a) (“All persons within
the jurisdiction of the United States shall have the same right in every State and Ter-
ritory to make and enforce contracts . . . as is enjoyed by white citizens”).
    54. 42 U.S.C. § 1981(a) protects whites (and Asians) on the same terms that it
protects “underrepresented” racial minorities. See McDonald v. Santa Fe Trail Trans-
portation Co., 427 U.S. 273, 295 (1976) (“[T]he Act was meant, by its broad terms,
to proscribe discrimination in the making or enforcement of contracts against, or in
favor of, any race.”).
    55. Texas A&M University and its officers are violating 42 U.S.C. § 1981(a) by
discriminating in favor of “underrepresented” minorities in its faculty hiring, and



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against whites and Asians. Whites and Asians therefore do not enjoy the “same right
. . . to make and enforce contracts” that so-called underrepresented minorities enjoy

at Texas A&M University.
    56. Professor Lowery therefore seeks declaratory and injunctive relief that pro-
hibits Texas A&M University and its officers from discriminating on account of race
in the appointment, promotion, and compensation of faculty, and that compels the
university and its officers to appoint, promote, and compensate faculty in a color-blind
manner.
    57. Professor Lowery seeks this relief under 42 U.S.C. § 1983, as well as the
implied right of action that the Supreme Court has recognized to enforce 42 U.S.C.
§ 1981(a), and any other law that might supply a cause of action for the requested
relief. See Johnson v. Railway Express Agency, Inc., 421 U.S. 454, 459–60 (1975).
    58. Professor Lowery seeks this relief only against the individual defendants, and
not against Texas A&M University as an institution, as 42 U.S.C. § 1981 neither ab-
rogates nor waives a state institution’s sovereign immunity from suit. See Sessions v.
Rusk State Hospital, 648 F.2d 1066 (5th Cir. 1981) (“Section 1981 contains no con-
gressional waiver of the state’s eleventh amendment immunity.”).

              COUNT 3— EQUAL PROTECTION CLAUSE
    59. As a public university, Texas A&M is subject to the commands of the Equal
Protection Clause, which prohibits state universities from denying to any person the
equal protection of the laws.
    60. The Supreme Court has held that the Equal Protection Clause prohibits
race and sex discrimination by state universities in all but the most compelling situa-
tions. See Grutter v. Bollinger, 539 U.S. 306 (2003); United States v. Virginia, 518
U.S. 515, 531 (1996) (“Parties who seek to defend gender-based government action
must demonstrate an ‘exceedingly persuasive justification’ for that action.”).




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    61. The holdings of Fisher v. University of Texas at Austin, 136 S. Ct. 2198
(2016), and Grutter v. Bollinger, 539 U.S. 306 (2003), which purport to permit racial

preferences in the context of public-university student admissions, are inapplicable to
faculty-hiring decisions.
    62. In all events, Texas A&M’s fixed set-asides for non-Asian racial minorities is
a constitutionally forbidden quota that fails even if one were to assume that Grutter
and Fisher govern a public university’s faculty-hiring decisions. See Grutter, 539 U.S.
at 328 (“[A] race-conscious admissions program cannot use a quota system”).
    63. Professor Lowery therefore seeks declaratory and injunctive relief that pro-
hibits Texas A&M University and its officers from discriminating on account of race
and sex in any manner outside the narrow context of student admissions.
    64. Professor Lowery seeks this relief under 42 U.S.C. § 1983 and any other
law that might supply a cause of action for the requested relief.
    65. Professor Lowery seeks this relief only against the individual defendants, and
not against Texas A&M University as an institution, as 42 U.S.C. § 1983 authorizes
lawsuits only against “persons” and not states or state institutions. See Will v. Michigan
Dep’t of Police, 491 U.S. 58, 64–71 (1989) (a state is not a “person” under 42 U.S.C.
§ 1983).

                             DEMAND FOR RELIEF
    66. Professor Lowery respectfully requests that the court:
           a.   certify the class described in paragraph 47;
           b.   declare that each of the defendants is violating Title VI and Title IX
                by discriminating in favor of women and non-Asian racial minorities
                in the appointment, promotion, and compensation its faculty;
           c.   declare that the individual defendants (but not Texas A&M Univer-
                sity) are violating 42 U.S.C. § 1981(a) and the Equal Protection




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              Clause by discriminating in favor of women and non-Asian racial mi-
              norities in the appointment, promotion, and compensation its faculty;

        d.    permanently enjoin the defendants from considering race or sex in the
              appointment, promotion, or compensation of its faculty;
        e.    appoint a court monitor to oversee all decisions relating to the ap-
              pointment, promotion, and compensation of faculty at Texas A&M
              University to ensure that these decisions are free from race and sex
              discrimination of any sort, and require that all decisions relating to
              the appointment, promotion, and compensation of faculty at Texas
              A&M University be pre-cleared by this Court;
        f.    appoint a court monitor to oversee the “diversity office” at Texas
              A&M University to ensure that it does not aid or abet violations of
              the nation’s civil-rights laws;
        g.    award costs and attorneys’ fees;
        h.    grant all other relief that the Court deems just, proper, or equitable.

                                            Respectfully submitted.

                                             /s/ Jonathan F. Mitchell
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                         CERTIFICATE OF SERVICE
    I certify that on December 23, 2022, I served this document through CM/ECF
upon:

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